 AO 91 (Rev. 1ll11) Criminal Complaint                                AUSAPatrickM. Otlewski (312) 469-6.r,   \s
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                                               EASTERN DIVISION
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                                                                             - 4 2017hlAY
 UNITED STATES OF AMERICA
                                                        I CASE NUMBER: THOMAS G.
                                                                              e BRUTON
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                            v.                          I                     oLERK
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                                                                                         DlSTl    CoURr

 DAMARCUS BENNETT                                       luNonnt?c R
                                             CRIMINAL COMPI,AINT MAGISTRATE ,U                 R%p
        I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
On or about July L5, 20L4, at Chicago, in the Northern District of Illinois, Eastern Division,
defendant DAMARCUS BENNETT violated:
      Code Section                                     Offinse Description
       18 U.S.C. g e22(gX1)                            DAMARCUS BENNETT, having been convicted
                                                       of a crime punishable by a term of imprisonment
                                                       exceeding one y€tr, did knowingly and
                                                       intentionally possess in and affecting interstate
                                                       commerce a firearm, namely, a 410 gauge Savage
                                                       Arms, Stevens Model 940A shotgun and
                                                       ammunition, which firearm had traveled in
                                                       interstate commerce prior to BENNETT's
                                                       possession of the firearm


     This criminal complaint is based upon these facts:
      X     Continued on the attached sheet.


                                                            Special Agent, Federal Bureau of Investigation

Sworn to before me and signed in my presence.

Date: May 4.20L7                                                   lF    Judge's signature

 City and state: Chicaeo.Illinois                       SUSAN E. COX. U.S. Magistrate Judge
                                                                      Printed name and Title
UNITED STATES DISTRICT COURT                   )
                                               )ss
NORTHERN DISTRICT OF ILLINOIS                  )

      I, Marc Recca, being duly sworn, state as follows:

I.    IwrnooucrroN
       1.    I am a Special Agent with the Federal Bureau of Investigation and have

been so employed since March        6, 2016. As such, I am an "investigative or law
enforcement officer" within the meaning of 18 U.S.C. $ 2510(7), that is an officer of

the United States who is empowered by law to conduct investigation of, and to make

arrests for, offenses enumerated in 18 U.S.C. $ 2516.

      2.     Since becoming an FBI Special Agent, my duties have included the

investigation of criminal violations of federal narcotics and firearms laws, including,

but not limited to,2L U.S.C.    $$ 841(a), 843(b), and 846, along   with violations of 18
U.S.C. g 922(S).   In addition, I have been involved in various types of electronic
surveillance (including the interception of wire and electronic communications) and

the debriefing of defendants, witnesses, and informants, as well as others who have

knowledge   of the distribution and transportation of firearms and controlled
substances. Through my training, education, and experience, I have become familiar

with the manner in which firearms and illegal narcotics are transported, stored, and

distributed, as well as the methods of payments for those firearms and narcotics.

      3.     Because this Affrdavit is for the limited purpose of establishing probable

cause to support the criminal complaint and the issuance of an amest warrant against

the proposed defendant,   it   contains only a summary of relevant facts.     I have not
included each and every fact known to me concerning the entities, individuals, and

events described in this Affidavit.

       4.    This Affidavit is made in support of a complaint that charges that, on or

about July 15, 2014, at Chicago,      in the Northern District of Illinois, defendant
DAMARCUS BENNETT, previously having been convicted of a crime punishable by

a term of imprisonment exceeding one year, did knowingly and intentionally possess

in and affecting interstate   commerce a firearm, namely, a 4L0 gauge Savage Arms,

Stevens Model 9404, shotgun and ammunition, which firearm had traveled in

interstate commerce prior to BENNETT's possession of the firearm, in violation of 18

U.S.C. g e22(g)(1).

       5.    The statements contained in this Affidavit are based on (a) information

provided by other federal and local law enforcement officers ("LEOs"); (b) my review

of in-person and telephonic consensually-recorded conversations; (c) surveillance and

debriefrng reports; (d) criminal history records and court records; (d) infor:nation

from cooperating sources; (e) telephone toll records; and (0 my training and

experience and the training and experience         of other LEOs involved in this
investigation.




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III.   ON on anorrr Jur,v I.5r20I4, BENNETT Kxownrcr,y AND INroNrroNALLy
       Possnssno e Frnnanrvr, nv VrolAuoN oF 18 LI.S.C. $ 922(c)

       A.      Background
       1.      A confidential source ("CS")r reported to LEOs that, on or about July 1L,

2014, the CS was in the area of 76th Street and Bishop on the south side of Chicago

when the CS saw Individual A and Individual B. The CS asked them about "bangers,"

which the CS has explained to be a street terrn for firearms.2 Individual B stated that

s/lre would be back, left   the area, then returned in a gray four-door vehicle driven by

DAMARCUS BENNETT. Aecording to the CS, BENNETT showed the CS a shotgun

and two handguns that were in the back seat area of BENNET'T's vehicle. The CS

described the handguns as a nine-millimeter semi-automatic pistol and .380 semi-

automatic handgun. According to the CS, the CS offered BENNETT $1,500 for the

three firearms. BENNETT agreed to sell the frrearms for $1,500 to the CS. The CS

advised that s/he would get back with BENNETT about completing the firearms




1 CS is a convicted felon with three known prior felony convictions and multiple arrests,
including separate convictions for armed robbery, theft, and aggravated battery. CS
cooperated in this investigation with the expectation of monetary compensation by law
enforcement and was paid approximately $7,896.75 by LEOs for cooperation services. The
information provided by CS has been corroborated and found reliable by LEOs, both in this
investigation and in other investigations where CS provided cooperation.
2 The conversations summarized in this Affrdavit do not include references to all topics
covered during the course of the conversation. The summaries also do not include references
to all statements made by the speakers on topics described. All quotations from recorded
conversations are based on draft, not final, transcriptions ofthose conversations and/or from
your Affiant having personally listened to the recordings. The times listed for the recorded
conversations are approximate. At various points in the Affidavit, I include in brackets my
interpretation of words and phrases used in the recorded conversations. My interpretations
are based on the contents and context of the recorded conversation, my knowledge of the
investigation as a whole, my experience and training, and the experience and training of
other LEOs in this investigation.


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transaction.

        2.         On or about July 11, 20L4, at approximately 2:59 p.m., the CS had a

consensually-recorded telephone conversation             with BENNETT, who was                  using

telephone number (224) 725-8150.3 The CS asked, "What was that [a reference to the

firearms BENNETT showed the CS earlier that dayl?" BENNETT stated, "That's a

ten gauge [a ten-gauge shotgun]." The CS asked, 'Yeah? How many shells it take?"

BENNETT answered, "One. A single shot." The CS asked, "And how much you asking

me for it?" BENNET'T answered,        'A hundred [$100]." BENNETT then asked, "Look,
you got fifteen for three of them [$1,500 for three firearms]?" The CS answered,

'Yeah." BENNETT stated, "I got a three eighty [.380 caliber handgun], I got a chrome

deuce frve    with a white handle [.25 caliber handgun], and I got that rifle [the single-

shot lO-gauge shotgunl." BENNETT asked, "'When you want to do it?" BENNETT

stated, "If   it   happen tonight, then   I make my moves to the crib to get the rest           of my

shit out." The CS responded, "I don't need no shells." BENNETT replied, "I'm not

talking about shells, I'm talking about the rest of my shit [frrearms]. I only got the

rifle with me right now." The CS responded, "Alright, you know what I'm saying, grve

me a   little time, you know what I'm saying,       cause I got my own   little,little,little   spot,

you know what I'm saying. So I'm a get backwith you in a minute you know what I'm


3 The identification of BENNETT and BENNET'T as the user of this telephone number is
based on the following: (a) the CS identified this telephone number as belonging to
BENNETT and identified BENNET'T as the user; (b) LEOs compared the voice on this
recorded caII to the audio-video recording from June 15, 20L4, and determined that the voice
in the call belonged to the person identified as BENNETT in the audio-video recording; and
(c) the user of this phone number arranged a meeting with CS, where BENNETT
subsequently met with CS at. the arranged-upon date and location and where LEOs
physically observed BENNETT.



                                                4
saying, alright."

          3.     Continuing on July 11,2014, at approximately 4:29 p.m., the CS had a

consensually-recorded telephone conversation                 with BENNETT, who was         using

telephone number (224) 725-8150. The CS asked, "How much you want for everything

all together? I'm getting my paper [money] together." BENNETT stated, "Fifbeen
hundred [$1,500], like you said. You came to me with that price." BENNETT stated,

'oI   got a ten-gauge shotgun. I got a, a three eighty [.380 caliber handgun], and I got a

um, goddamn it, um, a deuce five, chrome deuce five [.25 caliber handgun]. It's a

Raven [Raven Arms MP-25 .25 caliber pistol]." BENNETT then stated, "I got the shit,

so shit." When the CS stated that          if   s/tre may have to do deal the next morning,

BENNETT responded, "That's what's up, shit. I'm a, I'm a, have it, I got it." The CS

responded, "Man, don't get rid of that shit.          I   need   it, man." BENNETT responded, "I
got you, shit. First, a matter of fact     I think that's the way we should do it       anyway.

Just come holler at me in the morning. You come holler at me in. You come get them,

you know what I'm saying,       I'll   have you   just come over here, on my block. The      CS

asked, "Where you at?" BENNETT responded, "I'm on Laflin." The CS asked, "On

what and Laflin?" BENNETT answered, "79th [f9ttt and Laflin on the south side of

Chicagol." The CS asked,"79th and Laflin?" BENNETT answered, "Mm, hm."

          4.    Continuing on or about July 11, 2014, at approximately 5:24 p.m., the

CS had a consensually-recorded telephone conversation with BENNETT, who was

using telephone number (224) 725-8L5O. The CS asked, 'You gonna hold them [the

firearms] for me?" BENNETT responded, "I got you." The CS stated, "I need a 6-3.




                                                  5
You know somebody who got that?" BENNETT responded, "I can try and see." When

the CS stated that s/he would call BENNETT around 12:00 p.m., BENNETT
responded, "That cool."

      B.     BENNETT Possessed a Shotgun on or about July 15,2014, which
             BENNETT Sold to the CS for $200.
      5.     On or about July 15, 20L4, LEOs met the CS at a predetermined location

where LEOs searched the CS and the CS's vehicle for contraband, money, firearms,

and narcotics with negative results. LEOs gave the CS $1,000 in U.S. cumency with

the instruction to use the money to purchase firearms from BENNETT. LEOs also

equipped the CS with an audio-video recording device and activated the device. LEOs

initiated surveillance of the CS and maintained surveillance of the CS for the
duration of the operation

      6.     Continuing on or about July 15, 20L4, at approximately 12:32 p.ffi.,

LEOs observed the CS speak to Individual A in the area of 76th Street and Bishop

Street, on the south side of Chicago. The CS and Individual A then walked together

in the direction of a residence on the 7600 block of South Bishop Street.

      7.     At approximately   L2:33 p.D., LEOs observed the CS and Individual   A
enter the CS's vehicle and the CS drove Individual A to the area of 80th and Laflin,

on the south side of Chicago. According to the audio-video recording device, during

the drive, the CS asked Individual A, 'You sure         I   can fuck with this nigga

[BENNETT], man?" Individual A answered,'Yeah, he's good. That's one of the guys.

He's straight." The CS asked, "Do we gotta go to him?" Individual A responded,

'Yeah." The CS asked, "Where he [BENNETT] at?" Individual A answered, "Laflin.



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80th and   Laflin."

       8.      At approximately   L2:37 p.ffi., according to the audio-video recording

device, Individual A directed the CS to pull over, and Individual A exited the CS's

vehicle. LEOs observed Individual A exit the vehicle. According to the CS, BENNETT

was working on a nearby van parked in the area with an unidentified male.

       9.      At approximately   12:38 p.ffi., according to the audio-video recording,

BENNETT walked up to the CS while the CS was standing outside CS's vehicle. The

CS asked,'You got me?" BENNETT responded,'Yes, sir." BENNETT stated, "I gotta

call my OG because    I only got two   of them today TBENNETT only had two hrearms

ready to selU." The CS responded, "Alright, uh, give me them t\Mo." BENNETT asked,

"What you got for them?" The CS answered, "Five [$500]." BENNETT stated, "Five,

[whistling] right." The CS stated, "I ain't got no time to be wasting, man. It's too hot

over here." BENNET'T asked, "And you said eight for them other two, right?" The CS

answered, "I want all three of them, if you got them." BENNETT responded, "Right,

right, but I only got two right now. The other one's in the 100s [BENNETT had two

firearms ready to sell, the other one was located elsewhere]." The CS asked, "What

you got?" BENNETT said to Individual A, "Step in front over here [in order to block

their activity from view by outsiders]." Individual A then moved closer. BENNETT

stated, "I got this right here, but   I ain't   got no shells for   it, and then uh." According
to the CS, BENNETT displayed a black .38 caliber handgun that was tucked into

BENNETT's waistband. The CS stated, "OK. OK." BENNETT said, "And                     I got that
little, uh." The CS interjected, "Gauge [shotgun]?" BENNETT stated, "What I showed



                                                 7
you." The CS responded, "Alright, bring them and put them, put them in the car."

BENNETT stated, "Look, look, look, I don't know this work, right though. What I'm

saying about my homie, he got a shell, we finna go bust             it real quick [BENNETT
wanted to test fire the shotgunl." The CS responded, 'You ain't even gotta worry

about it.   I'll take   care of it myself." According to the audio-video recording, BENNETT

then walked towards a house.

       10.       According to the audio-video recording, at approximately 12:44 p.h.,

BENNETT walked back from the house to the CS.4 BENNETT was smiling.

BENNETT then walked away. The CS and Individual A reentered the CS's vehicle

and the CS drove down the street. LEOs observed the CS's vehicle drive east on 80th

Street, then southbound on Bishop into the alley behind Laflin.

       11. At approximately            L2:47 p.ffi., according to the audio-video recording,

BENNETT walked up to the driver's side of the CS's vehicle where the CS was sitting,

while parked       in the alley. The CS asked, "What up, big homie?" BENNETT
responded, 'You give me 150 t$150], and          I'll give all the shells with it. I   got like 30

some shells." The CS replied, "Go get 'em, man." BENNETT asked,               'A buck fifty for
all that t$rso for the shotgun and the shells]?" The CS answered, 'Yeah." BENNETT


a  The residence from where BENNET'T came to meet the CS in the street, and where the
firearm is believed to have come from was 8018 S. Laflin Street, Chicago, Illinois, and the
alley where the firearm purchase occurred was the alley behind 8018 S. Laflin Street, based
on my investigation and review of the audio-video recording as well as my personal
knowledge of the neighborhood based on surveillance on April 27 , 2OL7 . According to public
records databases and law enforcement databases, this residence was occupied in the past by
a person believed to be BENNETT's father, and at or around the time of the firearms
purchase, is believed to have been occupied by BENNETT's maternal grandmother. The
databases also reflect that additional relatives and associates of BENNETT lived at
residences on South Laflin Street in Chicago, Illinois.



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said, "Alright." Individual A then said, 'You got a fifty?" The CS responded that s/he

didn't. The CS stated that the extra $50 was a "courtesy." The sound of paper rustling,

consistent with the sound of money being counted, could be heard on the recording

device at this time.

       12.    At approximately l2:48p.o., according to the audio-video recording, the

CS exited the CS's vehicle and stood outside        it while it was parked in the alley. At
approximately 12:49 p.ffi., BENNETT and Individual A walked together to the trunk

of the CS's vehicle. Individual A then placed an item inside the trunk. When
Individual A walked away, BENNETT said, "Hey look, I'm going to get my OG and

I'll bring the other one over here [BENNET'T was offering to have an associate bring

the other firearm over to sell to the CSl." The CS said, "Alright." When the               CS

mentioned doing the deal the next day, BENNETT said, "We gonna do business."

       13.    According to the audio-video recording device, the CS and Individual A

then entered the CS's vehicle and drove away. While in the CS's vehicle, CS stated to

Individual A that s/he dropped a $100 bill. The CS asked Individual A to let the CS

know if Individual A found the money.s Individual A then exited the CS's vehicle in

a neighborhood nearby.

       L4.    At approximately    1-:00   p.m., according to the CS, Individual A called the

CS on the CS's cellphone and asked when Individual A was going to get paid. The CS




5 LEOs reviewed the audio-video recording and observed that, when the CS removed a
cellphone from a pocket, the CS dropped a $fOO bill on the ground. The bill landed in the area
of 76th Street and is visible on the audio-video recording.



                                               9
responded that Individual A would be taken care of in the next deal.6

       15.    The CS then drove to a predetermined meet location and met LEOs.

LEOs deactivated and removed the audio-video recording device, LEOs then

recovered $ZOO from the CS. LEOs then retrieved a 410 gauge Savage Arms, Stevens

Model 940A shotgun, 36 Winchester AA 410 gauge shotgun shells, and one

Winchester AA 4L0 gauge shotgun shell casing from the trunk of the CS's vehicle.

LEOs then searched the CS and the CS's vehicle for contraband, excess cash, and

other weapons with negative results.

       C.     BENNET'T Is a Convicted Felon.

       L6.    According to a law enforcement database, on or about November 6,2009,

BENNETT was convicted in the Circuit Court of Cook County, Illinois (08-CR-1337),

of aggravated discharge of a firearm at an occupied vehicle, in violation of 720 ILCS

g 5124-L.2(a)(2), and was sentenced     to the Cook County Department of Conections

Boot Camp. According to 720 ILCS 9 5124-t.2(b), a violation of I5/24-L2(a)(2) is a

Class 1 felony. According to 730 ILCS $ 5/5-4.5-30(a), a Class 1 felony is punishable

by a term of imprisonment of not less than 4 years and not more than 15 years.

       D. The Shotgun Traveled in Interstate Commerce Prior to
              BENNETT's Possession of It.
       t7.    According to law enforcement and public databases, the 410 gauge

Savage Arms, Stevens Model 940A shotgun is manufactured in the Commonwealth

of Massachusetts. Thus, based on my training and experience, the firearm BENNETII



6The CS's side of the conversation with Individual A is audible on the audio-video recording.
This telephone contact is corroborated by telephone company toll records.



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possessed on   or about July 15, 2014, in Chicago, Illinois, traveled in interstate
commerce prior to BENNETT's possession of that fi.rearm.

III.   CoNcr,usrom

       18.    Based on the foregoing, Your Affiant respectfully submits that there is

probable cause to believe that, on or about July L5, 2014, at Chicago, in the Northern

District of Illinois, defendant DAMARCUS BENNETT, previously having              been

convicted of a crime punishable by a term of imprisonment exceeding one year, did

knowingly and intentionally possess in and affecting interstate commerce a firearm,

namely, a 4L0 gauge Savage Arms, Stevens Model 940A shotgun and ammunition,

which firearm had traveled in interstate commerce prior to BENNETT's possession

of the firearm, in violation of 18 U.S.C. g 922(S)(1).


FURTHER AFFIANT SAYETH NOT.




                                  FBI Special Agent

SUBSCRIBED AND SWORN to
before me on May 4,20L7.




SUSAN E. COX
United States Magistrate Judge
Northern District of Illinois




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